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                                                                                     IN 0°EN COURT


                             UNITED STATED DISTRICT COURT                             NOV 1 4 2017
                        FOR THE EASTERN DISTRICT OF VIRGINL\

                                         Norfolk Division
                                                                               CLERK, U.S. DlSTRIGi COURT
                                                                                        NORFOLK. VA



UNITED STATES OF AMERICA,



               V.


                                                              CRIMINAL NO. 2:17CR152

CLAYTON AKEEM PRESSLEY,
        a/k/a "Brian Johnson"



               Defendant.



                                   STATEMENT OF FACTS


        The parties stipulate that the allegations in Counts One and Two of the Criminal

Information and the following facts are true and correct, and that had the matter gone to trial the

United States would have proven them beyond a reasonable doubt;

        1.     At all times relevant to the Criminal Information, defendant CLAYTON AKEEM

PRESSLEY ("PRESSLEY"), also known by the alias "Brian Johnson", was a Senior Chief Petty

Officer in the United States Navy (USN) assigned to a Virginia Beach-based naval unit. Since

2012, PRESSLEY has owned, or managed, several businesses to include Fifth Column Solutions

Group LLC, Pressley Enterprises, Inc., and Strategic Logistics Solutions Group, Inc.

Additionally, PRESSLEY was the Chief Operating Officer of Firm G until its termination in

2016.


        2.     Firm G was a business headquartered in Tucson, Arizona, but incorporated in

Virginia, that purported to be a professional services firm providing logistical support to
government agencies. Conspirator 1 was the CEO of Firm G. All business performed by

Conspirator 1 on behalf of Firm G took place in Tucson, Arizona.

        3.     PRESSLEY's 5th Column Solutions Group, LLC was the initial registered agent

of Firm G. Further, Firm G listed 5th Column Solutions Group's Chesapeake, Virginia address

as its initial registered office. At all times relevant to the pending Information, Firm G listed

PRESSLEY as an active employee of the business.

       4.      Contracting Firm V (Firm V) is a veteran owned, professional services firm

providing logistical support services to industry and government agencies. Firm V is a Defense

Logistics Agency (DLA) "prime vendor." Firm V is headquartered and does its business in San

Diego, CaUfomia. NH and KH were sales representatives of Firm V at all times relevant to this

criminal information.


       5.      Contracting Firm D (Firm D) is a government-contracting firm providing

logistical support services for various military and first responder organizations. Firm D is a

DLA "prime vendor." Conspirator 2 was a sales representative of Firm D at all times relevant to

this criminal information.


       6.      The DLA "Prime Vendor" model is a procurement process intended to utilize the

private sector's logistical capabilities to reduce deliver time to, and simplify the purchasing

process for, the United States Government. The prime vendor process starts with a contractual

agreement between the government and a commercial vendor, e.g., Firm V or Firm D. The

prime vendor buys inventory from a variety of suppliers and the inventory is stored in

commercial warehouses. The customer, e.g., the USN, orders supplies from the prime vendor,

largely through electronic ordering systems, or competitive bidding amongst prime vendors. The

supplier then ships directly to the customer, as needed, within a specific geographic area. This
process reduces delivery time to the customer and, by using the private sector's storage and

distribution system, reduces DOD warehousing and redistribution costs.

       7.       One method of procurement under the prime vendor model is a goods-purchasing

system known as DOD Electronic Mall (E-Mail). E-Mail is an internetbased orderingplatform

meant to provide a fiill service e-commerce site to find and acquire finished goods and services

fi-om the commercial marketplace. Beginning in approximately 2008, Firm V applied for and

received authorization from the DLA to sell products to the United States Government through

E-Mail.


       8.       Another method ofprocurement falls under DLA's "Troop Support" component,

which utilizes two "prime" contracting systems to streamline procurement of goods and

expenditure of DOD fimds. Both systems fall under the DLA "Tailored Logistics Support

Programs" (TLSP). Firm D is a party to this program by contract and is thus authorized to

provide a range of special operational equipment to the Departmentof Defense. Purchases

made under the TLSPs are subjected to a competitive bidding process amongst the various

vendors that are party to the TLSPs to ensure that the government obtains the best possible prices

for goods.

       9.       Conspirator 3 is an officer in the United States Navy. At all times relevant to this

information. Conspirator 3 worked at a Virginia Beach-based naval unit as his unit's supply

officer. Conspirator 3 thus had authority to make purchases for his unit through prime vendors.

          10.   Normally, the USN procures goods through a given command's supply officer

soliciting them directly through prime vendors using E-Mail, or through requests for goods to

vendors that are party to the DLA-TLSP prime contracts. If a prime vendor cannot supply the

goods needed, then the prime vendor may subcontract the business to a vendor who can. A




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    supply officer, as a representative of the USN, should not contact a sub-vendor directly during

    the active bidding process, or direct that a prime vendor use a particular sub-vendor without

    official justification. Additionally, a supply officer does not direct specific prices for quotes

    made by sub-vendors to prime vendors, or otherwise manipulate the generation of a quote for

    goods through the vendor.

                11.   From in or about May 2014, through in or about November 2014, the exact dates

    being unknown, in the Eastern District ofVirginia, and elsewhere, defendant CLAYTON

    AKEEM PRESSLEY, Conspirators 1, 2, 3, and others, known and unknown, knowingly and

    intentionally combined, conspired, confederated and agreed together and with each other to

    commit an offense against the United States, to wit: wire fi-aud, to devise and intend to devise

    any scheme and artifice to defi-aud and for obtaining money and property by means of materially

    false and fraudulent pretenses, representations, and promises, and to transmit, or cause to be

    transmitted by means of wire, radio, or television communication in interstate and foreign

    commerce, any writings signals, pictures, or sounds for the purpose of executing such scheme or

    artifice.


                12.   The purpose of this conspiracy was for PRESSLEY and others to personally profit

'   by steering contracts for training aids from the USN to a specific sub-vendor company, owned

    and managed by two of the conspirators themselves, and never fulfilling those contracts.

                13.   On or about March 26,2014, PRESSLEY and Conspirator 1 had a conversation in

    which PRESSLEY described to Conspirator 1 that Conspirator 1 "needed to be independently

    wealthy", and that PRESSLEY knew how to make that happen. PRESSLEY described to

    Conspirator 1 that they could have "everything they ever dreamed of for their children.
        14.    In April, 2014, PRESSLEY advised Conspirator 1 to purchase a prepaid phone to

use as a business phone line. PRESSLEY explained during this conversation that he could not

use his own cell phone for the business due to his status as an active duty service member, who,

in accordance with their scheme, would be doing business with the United States Navy through

purchases made by Conspirator3 on behalf of his unit.

        15.    On or about May 20,2014, PRESSLEY and Conspirator 1 worked together to

incorporate Firm G. PRESSLEY filed all the necessary paperwork to effect Firm G's

incorporation in Virginia. PRESSLEY used his own business. Fifth Column Solutions Group, as

the registered agent, using an address in Chesapeake, Virginia as Firm G's registered address.

Conspirator 1 was named as Firm G's Chief Executive Officer. A Tucson, Arizona address

served as Firm G's headquarters and sole place of business. PRESSLEY worked as an

employee for Firm G, using the alias "Brian Johnson."

        16.    Conspirator 1 established five corporate bank accounts at Wells Fargo Bank on

behalf of Firm G. One account served as the Firm G business checking account, a separate

Wells Fargo business savings account held money for business taxes. The remaining accounts

were savings accounts reserved for PRESSLEY, Conspirator 1, and Conspirator 3, respectively.

        17.    Firm G's business purpose was to act as a vendor of "inert training aids" and

other logistical and tactical equipment for military use. Inert training aids are military practice

tools that resemble explosive devices. Military units use inert training aids in routine training.

Because military units destroy these aids in training, they are replenished fi-equently.

        18.    Firm G used Firm V and Firm D as prime vendors through which the conspirators

funneled government contracts for inert training aids to Firm G. To facilitate this process,




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PRESSLEY and Conspirator 3 leveraged connections with Conspirator 2, who at the time was

acting as a rogue employee of Firm D, and with NH and KH at Firm V.

        19.    All conspirators understood that Conspirator 3's role in the conspiracy was to

obtain approval to spend USN money on inert training aids or other items, and to initiate

transactions with Firm G for inert training aids.

       20.     It was part ofthe conspiracy that Conspirator 2, NH, and KH, acting as agents of

their respective vendors, would subcontract USN contracts exclusively to Firm G at the request

of Conspirator 3. In return, Conspirator 2 received a kickback for Firm D's use of Firm G. NH

and KH received their standard commissions for securing business for Firm V. Through the

actions of the conspirators, Firm G subcontracted once with Firm D, and three times with Firm V

over the course of the conspiracy and wire fraud scheme.

       21.     PRESSLEY and Conspirator 3 knew and agreed that Firm G would not provide

any products to the govenmient. Conspirator 1 became aware of this fact sometime in August,

2014 when PRESSLEY explained that the invoices that Conspirator 1 prepared on behalf of Firm

G were not actually being fulfilled. Indeed, Firm G maintained no product inventory of any sort,

nor had any capability of fiilfilling government contracts whatsoever. Moreover, Conspirator 1,

as the CEO of Firm G, did not know what an inert training aid was until Conspirator 3 directed

Conspirator 1 to visit www.inertproducts.com in order to collect information for an invoice.

Despite never providing any product to the government, Firm G accepted payments for four

subcontracts in total, and distributed those payments amongst the various conspirators, and the

conspirators' creditors.

       22.     In furtherance of the conspiracy. Firm G purported to directly deliver the

contracted-for goods to Conspirator 3 after they were "purchased" by the prime vendor. In this
way, Firms D and V would never have an opportunityto physically check what products were

being delivered, if any were being delivered at all. Conspirator 3 would simply sign fraudulent

delivery documentationconfirming that the USN had received Firm G's products.

       23.     PRESSLEY, Conspirator 1, and Conspirator 3 initially agreed that they would

divide the governmentmoney provided to Firm G amongst themselves in percentages of 40% for

PRESSLEY, 40% for Conspirator 3, and 20% for Conspirator 1.

       24.     Firm G deposited each conspirators' share of the proceeds of the conspiracy into

that conspirator's respective Wells Fargo Business Savings account. Additionally, PRESSLEY

accepted portions of his share of the proceeds, and those of Conspirator 3, into his Pressley

Enterprises Wells Fargo Gold Business Services account.

       25.     PRESSLEY, Conspirator 1, and Conspirator 3 understood that in fiirtherance of

their conspiracy and scheme, communications between the conspirators would take place via

interstate wire transmission, namely, emails sent over the internet between Tucson, Arizona,

Virginia Beach, Virginia, San Diego, California, and other locations.

       26.     On May 28,2014, Conspirators 1,2,3, and PRESSLEY (using the alias "Brian

Johnson") collaborated via email to facilitate a purchase of inert training aid packages from Firm

D and Firm G. Conspirator 2 sent an email to Conspirator 3 requesting that Conspirator 3

provide hun a "quote" for the training aid packages, as well as a Firm G point ofcontact and

phone number. Conspirator 3 forwarded this correspondence to Conspirator 1 and PRESSLEY,

explaining that Conspirator 2 was "ready to work this today!"

       27.     On May 29,2014, Conspirator 3 sent an email to PRESSLEY and Conspirator 1

asking that they "please copy and paste this into a quote and send to [Conspirator 2] at [Firm D]

as soon as possible." The email provided a description of the inert training aid packages, how
many units of each package were to be purchased, and associated prices, totaling $208,131.90.

The email also provided Conspirator 2's contact information.

       28.     On May 29,2014, Firm G sent a fraudulent "invoice" "attention to" Conspirator 2

at Firm D for four packages of inert training aids, ten units of each, totaling $208,231.90. The

invoice listed Conspirator 1 as the Firm G point of contact.

       29.     On May 29,2014, PRESSLEY, as "Brian Johnson," sent an email to Conspirator

2 that included a Firm G "Vendor Setup Form" backdated to "4/17/2014." The next day, an

unwitting representative of Firm D, having no knowledge of the scheme, sent Conspirator 1 an

email confirming receipt of the vendor setup form. Firm D required a completed Vendor Setup

Form before engaging in business with Firm G.

       30.     On June 25,2014, Firm D generated two purchase orders for Firm G's inert

training aids. The same day. Conspirator 1, using a Fifth Column Solutions Group email

address, emailed confirmation of the purchase orders, and indicated that Firm G would ship the

products "tomorrow," June 26,2014. However, the purchase orders indicated a "deliver by date"

of July 8,2014.

       31.     On July 25,2014, Conspirator 1, from Tucson, Arizona sent Conspirator 3, in

Virginia Beach, Virginia, an email requesting that Conspirator 3 sign Firm D's delivery receipt

"and put 6/26/14 as delivery date, and maybe throw in a time." Conspirator 3 executed the

delivery receipts for each purchase order, falsely representing a delivery receipt date and time for

each receipt of June 26,2014, at "1430". These receipts confirmed two illegitimate deliveries of

inert training aids, $208,231.90-worth in each, for a total purchase of $416,463.80. As

Conspirator 3 was well aware. Firm G never delivered any items in relation to this purchase.
       32.       On July 29,2014, Firm D remitted a payment of $416,463.80 to Firm G based on

the fraudulent delivery receipts provided by Conspirator 3. This payment was deposited into

Firm G's Wells Fargo business checking account on July 30,2014.

       33.       On May 15,2014, Conspirator 1, from Tucson, Arizona, sent Conspirator 3, in

Virginia Beach, Virginia, an email stating in part: "Attached is the quote you requested for the

inert training aids." The same day, Conspirator 3 responded to Conspirator 1, KH, and NH,

thanking Conspirator 1 for the "quick turn around", and informing Conspirator 1 that KH and

NH would be Firm G's primary points of contact at Firm V. Conspirator 3 stated in the email

that "[KH and NH] are our vehicle for expending ftmds," and that the quote was "ready to go for

you.. .1 am standing by for you to send me your documents."

       34.       The May 15,2014 quote described four packages of"inert training aids," 25 units

of each type, at a total price of $520,329.75.

       35.       On May 22,2014, PRESSLEY (using the alias "Brian Johnson") sent an email to

Conspirator 3 stating that he and Conspirator 1 had spoken with a representative at Firm V who

requested that Firm G provide more detail in their quote regarding the contents of "inert training

aid" packages.

       36.       On May 27,2014, Conspirator 3 sent an email to KH and NH, carbon copying

Conspirator 1 and PRESSLEY detailing the contents of the packages.

       37.       On June 2,2014, KH sent an email to Conspirator 3 explaining that all Firm G

quotes had been updated and that a purchase order was prepared. Conspirator 3 forwarded this

email to PRESSLEY and Conspirator 1.

       38.       On June 3,2014, Firm V sent purchase orders via email to Firm G for the quoted

training aid packages. For each of these purchase orders, Conspirator 3 signed the respective
packingslips, and circledthe items as "delivered." Firm G never delivered any items in relation

to this purchase.

       39.      On June 16,2014, KH sent an email to Conspirator 3 stating, "The last step is

getting an invoice from [Firm G]." Conspirator 3 forwarded this emailto PRESSLEY and

Conspirator 1 stating, "Figure this out."

       40.      On Jime 17,2014, Firm V provided Firm G a check in an amount of $520,579.75.

Firm G deposited this check into its Wells Fargo business checking account ending in 2744 on

June 20,2014.

       41.      On July 1,2014, Firm G electronicallytransferred $166,000.00 into the Business

Market Rate Savings account associated with PRESSLEY, and $366,000.00 in to a Wells Fargo

Gold Business Services account owned by Pressley Enterprises, Inc.

       42.      On June 20,2014, Conspirator 3 directed Conspirator 1 to generate a new quote

from Firm G for inert training aids, totaling $506,323.85. Conspirator 1 did so, generating a

quote for various inert training devices and aids.

       43.      On June 23,2014, Conspirator 3 corresponded via email with Firm V.

Conspirator 3 provided Firm V with the quote documents from Firm G, and explained that his

unit would be "loading up for the next 24 months." Conspirator 3 then directed Firm V to

"please start building carts" in E-Mail for the quoted items.

       44.      KH responded to Conspirator 3's email by stating Firm V would "work on this

today." Firm V then generated purchase orders made out to Firm G for the training aids earlier

quoted by Conspirator 1. By July 17,2014, Firm G had received four purchase orders from Firm

V, doing business as two subsidiary companies. Ultimately, Conspirator 3 signed illegitimate




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packing slips forthese orders, representing delivery of the items supposedly purchased. Firm G

never delivered any of the items ostensibly purchased by the USN.

       45.     Firm V provided two checks to Firm G for the purchase orders associated with

this sale. The first, for $353,950.90, and the second for $152,372.95. These checks total

$506,323.85, in government money going to Firm G, These checks were deposited into Firm

G's Wells Fargo checking accoimt on July 29,2014.

       46.     On August 12, 2014, Conspirator 1 electronically transferred $90,170.00 from

Firm G's Wells Fargo checking account to a Wells Fargo Gold Business Services account owned

by Pressley Enterprises, Inc.

       47.     On August 15,2014, Conspirator 1 electronically transferred $39,754.00 from

Firm G's Wells Fargo checking account to a Wells Fargo Gold Business Services account owned

by Pressley Enterprises, Inc.

       48.     On September 26,2014, Conspirator 1 electronically transferred $40,000.00 from

Firm G's Wells Fargo checking account to a Wells Fargo Gold Business Services account owned

by Pressley Enterprises, Inc.

       49.     In or around October 2014, Conspirator 3 and Conspirator 1 coordinated with

Firm V for another purchase of inert training aids.

       50.     Conspirator 3 generated and signed a purchase request form requesting four types

of inert training aid packages, several units of each, totaling $240,021.33 worth of goods.

       51.     On October 24,2014, Conspirator 3 again directed Conspirator 1 via email to

send him a quote made out to Firm V for these inert training aids. Conspirator 1 complied, and

emailed a quote to Firm V, quoting $153,216.45, from a Fifth Column Solutions Group email

address.




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       52.     On October 27,2014, Conspirator 3 sent Conspirator 1 another email requesting

that Conspirator 1 revise the quote so that the dollar figure came "as close as possible to

$168,014 without going over." Conspirator 1 then sent Firm V a revised quote for the training

aids, totaling $167,164.20.

       53.     Firm V then generated purchase orders and packing slips associated with this third

sale, which Conspirator 3 signed and marked to indicate delivery of the goods seemingly

purchased irom Firm G. Firm G did not deliver any ofthe goods purchased by the USN.

       54.     On November 18,2014, Firm V provided a check to Firm G for $167,164.20. On

November 19,2014, Firm G deposited this check into Firm G's Wells Fargo business checking

account.


       55.     In total, Firm G, by virtue of the actions of PRESSLEY, Conspirator 1,

Conspirator 2, and Conspirator 3, Firm G enteredinto four subcontracts for inert training aids to

be sold to the USN. In total, the USN spent $1,867,944.92 to acquire goods from Firm G. The

USN received nothmg from these purchases. Firm G received $1,194,067.90 in connection with

the conspiracy, and the aforementioned fraudulent contracts.

       56.     PRESSLEY, Conspirator 1, and Conspirator 3 knowingly used interstate wire

communications in furtherance of the purpose of their conspiracy and scheme, in order to

transmit emails, contract proposals, purchase orders, delivery documentation, quotes, and

invoices by email, through the internet.

       57.     On July 2, 2014, PRESSLEY knowingly received a deposit of $366,000 from

Firm G's Wells Fargo business checking account into his Pressley Enterprises checking account.

       58.     The $366,000 deposit represented portions of both PRESSLEY, and Conspirator

3's respective shares of the proceeds of the Firm G wire fraud conspiracy. PRESSLEY knew



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that said deposit represented money derivedpurely from the Firm G conspiracy and wire fraud

scheme.


        59.       On or about July 2,2014, PRESSLEY knowingly paid $40,366.40 ofthe proceeds

of the Firm G conspiracy and wire fraud scheme, specifically, the deposit described in paragraph

57, above, toward his Marriott Rewards Credit Card from his Pressley Enterprises Wells Fargo

Gold Business Services account.

        60.       PRESSLEY's Marriott Rewards Credit Card was a personal credit card held in

PRESSLEY's name. PRESSLEY used this card to purchase personal items for both PRESSLEY

and Conspirator 1.

        61.       PRESSLEY made purchases on his Marriott Rewards Credit Card including, but

not limited to:


                  a. On multiple dates in June, 2014, plane tickets on Delta airlines totaling
                      $4,888.00;

                  b. On May 22, 2014, $1,390.16 worth of goods from Fieri Imports;

                  c. On June 17,2014, a $937.71 purchase at Ruth's Chris Steakhouse in Virginia
                      Beach, VA;

                  d. On June 16,2014, a $1,175.22 stay at the Courtyard Marriott in Chesapeake,
                     Virginia;

                  e. On May 31, 2014, a $1,612.50 cash advance at Casino Del Sol in Tucson,
                      Arizona;

                  f   On June 25, 2014, two payments to Neiman Marcus Online, totaling
                      $1,956.00;

                  g. On July 3,2014, a payment of $2,970.13 to Porsche of Tucson in Tucson,
                      Arizona.


        The defendant acknowledges that the foregoing statement of facts does not describe all of

his conduct relating to the offenses charged in this matter.



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                                                      Dana J. Boente
                                                      United States Attorney

                                              By:
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After consulting with my attorney, I hereby stipulate that the above statement of facts is true and
accurate, and that had the matter gone to trial, the United States would have proved the same
beyond a reasonable doubt.



                                                     CUOTON AI^E'EMH
                                                     Defendant



        I am the attorney for CLAYTON PRESSLEY III. I have carefiilly reviewed the above
statement of facts with the defendant. To my knowledge, his decision to stipulate to these facts
is an informed and voluntary one.



                                                     Bruce Sams
                                                     Counsel for Defendant




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